       Case 2:20-cv-00884-SPL Document 111 Filed 07/07/22 Page 1 of 2




 1
 2
 3
 4
 5
 6                         IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
 8                                             )    No. CV-20-00884-PHX-SPL
     Tina Weeks, et al.,
 9                                             )
                                               )
                       Plaintiffs,             )    ORDER
10                                             )
     vs.
11                                             )
                                               )
     Matrix Absence Management                 )
12   Incorporated,                             )
13                                             )
                                               )
                       Defendant.              )
14
15          The Court is in receipt of Defendant’s Motion for Decertification of Collective
16   Action (Doc. 105) and Plaintiff Samantha Stocklein’s Motion to Certify Class (Doc. 107)
17   and the associated Memoranda in Support (Docs. 108, 110) and Declaration (Doc. 109).
18   However, the Motions fail to comply with LRCiv 7.2(e)(1), which provides that “[u]nless
19   otherwise permitted by the Court, a motion including its supporting memorandum . . .
20   may not exceed seventeen (17) pages, exclusive of attachments and any required
21   statement of facts.” The Court will thus strike the filings. The parties may refile the
22   Motions in compliance with the Local Rules and with the Case Management Order’s
23   requirement that “[c]itations in support of any assertion in the text shall be included in the
24   text, not in footnotes.” (Doc. 52 at 7). Even if matters are complex, it is counsel’s
25   responsibility to be clear and concise.
26   ///
27   ///
28   ///
      Case 2:20-cv-00884-SPL Document 111 Filed 07/07/22 Page 2 of 2




 1         IT IS THEREFORE ORDERED that the Clerk of Court shall strike
 2   Defendant’s Motion for Decertification of Collective Action (Doc. 105), Plaintiff
 3   Samantha Stocklein’s Motion to Certify Class (Doc. 107), the Memoranda in Support of
 4   the Motion (Docs. 108, 110), and the Declaration of Jack Siegel (Doc. 109).
 5         IT IS FURTHER ORDERED that if the parties choose to refile the Motions
 6   stricken by this Order in a form compliant with the Local Rules and the Case
 7   Management Order, they must do so no later than July 12, 2022.1
 8         Dated this 7th day of July, 2022.
 9
10                                                   Honorable Steven P. Logan
                                                     United States District Judge
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
           1
              The Court advises that given the age of this case, the Court is not inclined to
28   grant extensions of the briefing schedule absent exceptional circumstances.

                                                2
